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About                                                                                                                                       Michele Moore
I am a highly collaborative general manager and strategist with expertise in launching and operating                                        Vice President Global Communications
cable television networks and digital media extensions, developing and producing multi-platform                                             at Ford Foundation
original content/programming, initiating and launching new profitable ancillary businesses, creating                                        New York, NY
strategic partnerships and managing high performing teams. My expertise and passion is in finding                                           Wayne Markover
ways to reach and super-serve niche audiences and positively impact and give voice to
                                                                                                                                            Director at Ford Foundation
disenfranchised communities. I am also passionate about building strong organizational cultures and                                         Freehold, NJ
harnessing employee engagement. I am very open to connecting with other professionals to exchange
ideas and discuss opportunities.                                                                                                            Hilary Pennington
                                                                                                                                            EVP, Global Programs @ the Ford
                                                                                                                                            Foundation; philanthropist and
                                                                                                                                            gardening enthusiast
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Experience                                                                                                                                  Margaret S Morton
                                                                                                                                            Director at Ford Foundation
         Chief Operating Officer
                                                                                                                                            Bronx, NY
         Ford Foundation
         Jun 2020 - Present · 1 year 9 months                                                                                               Carolyn Bielfeldt
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         Greater New York City Area                                                                                                                Public Speaking
                                                                                                                                                   Foundations
        Viacom
                                                                                                                                                   Why Projects Fail and How
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                                                                                                                                                   to Improve Their Success
        Senior Vice President, Programming (Planning & Scheduling, Content Strategy &
        Ops) - BET Networks                                                                                                        See all courses
        Apr 2015 - Mar 2017 · 2 years
        New York, New York
                                                                                                                                Depelsha’s public profile
        Senior Vice President, Business Operations, Centric - BET Networks                                                      badge
        Jun 2009 - Mar 2015 · 5 years 10 months
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        Head of Operations & Interim General Manager - MTV Tr3s
                                                                                                                                              Depelsha McGruder
        Sep 2006 - Jun 2009 · 2 years 10 months
                                                                                                                                              Chief Operating Officer at Ford
        Greater New York City Area                                                                                                            Foundation

                                                                                                                                            Chief Operating Officer at Ford
        Senior Vice President/Vice President, Business Operations & Strategy - MTV                                                          Foundation
        Feb 2004 - Dec 2008 · 4 years 11 months
                                                                                                                                            Harvard Business School
        Greater New York City Area


         Senior Director, Business Development - MTV                                                                                View profile

         May 2000 - Feb 2004 · 3 years 10 months
         Greater New York City Area                                                                                                View profile badges


         Senior Strategy Consultant - Media & Entertainment, Telecommunications,
         High Tech
         Accenture
         Sep 1998 - Apr 2000 · 1 year 8 months

         Greater New York City Area


         On-Air Reporter/Anchor/Producer - WMAZ-TV, Channel 13
         Gannett
         Apr 1995 - Nov 1996 · 1 year 8 months

         Macon, Georgia Area


         Executive Producer/Assignment Editor & Anchor/Reporter
         WFXL-TV - FOX 31
         Aug 1994 - Apr 1995 · 9 months

         Albany, Georgia Area




Education
         Harvard Business School
         Master of Business Administration - MBA

         1997 - 1998


         Yale School of Management
         Executive Education

         2019 - 2019


         Howard University
         Bachelor of Arts

         1990 - 1994




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